     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page11ofof66PageID
                                                                        PageID#:315
                                                                               #:441
                                                                                       1


 1                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
 2                                  EASTERN DIVISION

 3      PATRICK PRINCE,                            )   Docket No. 18 C 2952
                                                   )
 4                                Plaintiff,       )
                                                   )
 5                   v.                            )   Chicago, Illinois
                                                   )   November 14, 2018
 6      KRISTON KATO, et al.,                      )   9:00 o'clock a.m.
                                                   )
 7                                Defendants.      )

 8                         TRANSCRIPT OF PROCEEDINGS - MOTION
                            BEFORE THE HONORABLE JOHN Z. LEE
 9
        APPEARANCES:
10
        For the Plaintiff:                     LOEVY & LOEVY, by
11                                             MR. DAVID BENJAMIN OWENS
                                               311 North Aberdeen Street
12                                             Third Floor
                                               Chicago, Illinois 60607
13
        For Defendant City of                  REITER BURNS LLP, by
14      Chicago:                               MR. PAUL A. MICHALIK
                                               311 South Wacker Drive
15                                             Suite 5200
                                               Chicago, Illinois 60606
16
        For the Individual                     BORKAN & SCAHILL LTD., by
17      Defendant Officers:                    MS. MISHA ITCHHAPORIA
                                               20 South Clark Street
18                                             Suite 1700
                                               Chicago, Illinois 60603
19

20

21

22                                ALEXANDRA ROTH, CSR, RPR
                                   Official Court Reporter
23                               219 South Dearborn Street
                                           Room 1224
24                                 Chicago, Illinois 60604
                                        (312) 408-5038
25
     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page22ofof66PageID
                                                                        PageID#:316
                                                                               #:442
                                                                                       2


 1           (Proceedings had in open court:)

 2                 THE CLERK:      18 CV 2952, Prince versus Kato.

 3                 MR. MICHALIK:       Good morning, your Honor.          Paul

 4      Michalik on behalf of defendant City of Chicago.

 5                 MS. ITCHHAPORIA:        Good morning, your Honor.          Misha

 6      Itchhaporia on behalf of the individual defendant officers.

 7                 MR. OWENS:      Good morning, your Honor.           I'm David B.

 8      Owens, and I represent Patrick Prince.

 9                 THE COURT:      All right.      So pending before the Court is

10      the defendants' motion to bifurcate plaintiff's Monell claims.

11      So Rule 42(b) of the Federal Rules of Civil Procedure allows me

12      to separate claims and decide particular claims and issues in

13      separate trials.       The Court exercises considerable discretion

14      in making its determination.           And as another Judge in this

15      district found in Rodriguez versus City of Chicago, 2018

16      Westlaw 3474538, Northern District of Illinois, July 19, 2018,

17      in recent years there has been a growing body of precedent in

18      this district for both granting and denying bifurcation in 1983

19      cases.    But, of course, the decision whether to bifurcate must

20      be made on a case-by-case basis, looking at the specific facts

21      and claims presented.

22                 Having reviewed the arguments made by the parties

23      here, I do not believe that bifurcation of the Monell claims is

24      warranted in this particular case.             First, given the issues

25      described in the complaint, I do not believe that bifurcation
     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page33ofof66PageID
                                                                        PageID#:317
                                                                               #:443
                                                                                       3


 1      of discovery or trial would materially facilitate the speedy

 2      and effective resolution of this case.              In fact, in my

 3      experience, bifurcating discovery, particularly in cases like

 4      this, only tends to prolong the case and leads to unnecessary

 5      disputes as to the appropriate scope of non-Monell versus

 6      Monell discovery.

 7                 This is particularly true in a case like this where

 8      the city has been engaged in Monell discovery with regard to

 9      the same police officers and supervisors in similar cases.                         And

10      while the Monell discovery may not completely overlap, the city

11      certainly has a good start and idea on how it would search for

12      discovery that would be the subject of plaintiff's Monell

13      claims.

14                 Second, the city also argues that the introduction of

15      Monell evidence at trial would be unfairly prejudicial to

16      individual defendants, or potentially vice versa, and this may

17      be true.     But this is an issue that we can deal with as part of

18      the final pretrial conference as the case heads to trial.                      This

19      case is at the very early stages.             And so I believe it is

20      better to leave that decision to a time when the record is

21      better developed, when both the parties and I will have a

22      better sense of exactly what the claims will be at trial and

23      what evidence the parties intend to rely on at trial.

24                 On the other hand, the delays that the bifurcation of

25      Monell discovery might cause in this case I believe would
     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page44ofof66PageID
                                                                        PageID#:318
                                                                               #:444
                                                                                       4


 1      prejudice plaintiff's interests in achieving the speedy and

 2      efficient resolution to this matter.             And what is more, it is

 3      too early to tell whether there is a risk of inconsistent

 4      verdicts.     And the plaintiff has indicated that he does have

 5      non-monetary goals for his lawsuit against the city and that a

 6      judgment against the individual defendants would not satisfy.

 7                  And, of course, the plaintiff is entitled to be the

 8      master of his own complaint and pursue claims even if they have

 9      minimal pecuniary reward.          And so for those reasons the motion

10      to bifurcate the Monell claim is denied without prejudice.

11                  All right.     So given that, I know there has previously

12      been a discovery schedule set in this case.                This will

13      obviously impact the scope of discovery.               Will it impact the

14      deadlines for discovery?

15                  Let me hear from the plaintiff first.

16                  MR. OWENS:     Your Honor, I think the first thing for us

17      to do is, you know, under the new pilot we sent our discovery.

18      And I think the city raised some issues, possible objections,

19      to our written discovery.

20                  My -- my suggestion is that we get through the first

21      round of written discovery, and once we start discovery see

22      where we're at in a month or two.             And if it looks like we are

23      on board, which we'll make every attempt to do, we'll persist

24      with that schedule.        But if not and if everyone is working in

25      good faith through the discovery that we have so far, given
     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page55ofof66PageID
                                                                        PageID#:319
                                                                               #:445
                                                                                       5


 1      we've got more on the front end, we can come back to the Court

 2      at that time.

 3                 But I don't think we have enough information right

 4      now.

 5                 MR. MICHALIK:       I think from our perspective, there is

 6      almost no way we would be able to meet the current deadline,

 7      Judge.    We pointed out what we consider to be almost unlimited

 8      Monell discovery.        I mean, there is no dates on some of the --

 9      so the scope is extremely broad as to the subject matter.

10      There is no deadlines.

11                 So there is going to be a lot of 37.2 conferring with

12      plaintiff's counsel just to narrow down the scope of the

13      initial written discovery that's Monell directed.                 So I think

14      it's going to be little bit of a drawn-out process.

15                 THE COURT:      All right.      I know that this case has been

16      assigned to Magistrate Judge Finnegan.              And so I will refer

17      this case to her for general discovery supervision.                  Okay?

18                 And as of the moment, I will keep the May 31 deadline,

19      with the understanding that the parties may need to modify that

20      schedule based upon the scope of Monell discovery, whatever

21      that scope ends up being.          And to the extent that the parties

22      need more time, as we approach May the parties can file a

23      motion and I will deal with it at that point in time.

24                 MR. OWENS:      Thank you, Judge.

25                 THE COURT:      Or I may have Magistrate Judge Finnegan
     Case:
      Case:1:21-cv-00819
            1:18-cv-02952Document
                          Document#:#:67-5
                                       69 Filed:
                                           Filed:12/13/18
                                                  01/11/24Page
                                                           Page66ofof66PageID
                                                                        PageID#:320
                                                                               #:446
                                                                                       6


 1      deal with it depending on where we are.              All right?

 2                 So we will set this case for further status.                 Let's

 3      look at the last week in February.

 4                 THE CLERK:      February 26 at 9:00 o'clock.

 5                 MR. MICHALIK:       Judge, I think there is a December 11

 6      status date currently on the books in this case.

 7                 THE COURT:      I am going to strike that day.

 8                 MR. OWENS:      Thank you, Judge.

 9                 MS. ITCHHAPORIA:        Thank you.

10                 MR. MICHALIK:       Thank you.

11           (Which were all the proceedings heard in this case.)

12                                        CERTIFICATE

13                 I HEREBY CERTIFY that the foregoing is a true, correct

14      and complete transcript of the proceedings had at the hearing

15      of the aforementioned cause on the day and date hereof.

16

17       /s/Alexandra Roth                                            12/3/2018
        __________________________________                         _________________
18        Official Court Reporter                                       Date
          U.S. District Court
19        Northern District of Illinois
          Eastern Division
20

21

22

23

24

25
